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                       UNITED STATES DISTRICT COURT
                           CIVIL MOTION MINUTES


 Date: 7/19/2019                                Judge: Trenga/MSN
 Time: 1:13 - 2:00                            Reporter: Rebecca Monroe (Casamo)



 Civil Action Number: 1:18-cv-1599


 IN RE DXC TECHNOLOGY COMPANY SECURITIES LITIGATION



 Appearances of Counsel for Plaintiff and Defendant

   Counsel for Plaintiff                  Counsel for Defendant
   Gregg Levin                            Stephen Barry
   Steven Toll                            Jamie Wine
   Jesse Jensen                           Kevin McDonough
   John Browne
   Aaron Book


 Motion to/for:
 [53] Motion to Dismiss for Failure to State a Claim by deft.


 Argued and
 ( ) Granted       ( ) Denied           ( ) Granted in part/Denied in part
 (X) Taken Under Advisement                  ( ) Continued to


 (X) Order to Follow
